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IN THE UNITED STATES DISTRICT COURT - md -
FOR THE WESTERN DISTRICT OF TENNESSEE Hl‘ED MVZ(DL'
WESTERN DIVISION 05 H|; \1! __3 PM q: 29

 

 

UNITED STATES OF AMERICA )
)
Plaintiff, )
)
VS ) CR. NO. 03-20392-D
)
ALPHONSO CARRAWAY )
)
Defendant. )

 

ORDER 'I`O SURRENDER

 

The defendant, Alphonso Carraway, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court t0 report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis,
1101 John A. Denie Rd., Memphis, Tennessee 38134 by 2:00 p.m. on TUESDAY, AUGUST 2,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Offlce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by Signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this timing day of May, 2005.

 

U ITED STA'I`ES DISTRICT JUDGE

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

UNITED sATE DISTRICT COURT - W"'RNT DISTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:03-CR-20392 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

